Case 2:05-CV-02524-BBD-tmp Document 10 Filed 08/24/05 Page 1 of 2 Page|D 1

 

1N THE UNITED sTATEs r)lsrRlcr COURT F"£D B"' - . D.G.
FoR THE WESTERN DISTRICT or TENNESSEE '
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LILLY LEWIS, ) CLEHK US "'°WCTCOW
) kylle »`_' T_I'- ‘=¢r>\jpl-LS
Plainaff, )
)
Vs. ) No. 05-2524~M1An
) JURY DEMANDED
MEMPHIS FrNANClAL sERVICEs, )
WORLDWLDE MORTGAGE )
CORPORATION, NOVASTAR )
MORTGAGE, EQUITY TITLE AND )
ESCROW Co. 0F MEMPHIS, LLC, )
URSULA JoNEs, CARY CALIFF, and )
ERRIKA GORDON, )
)
Defendants. )

 

ORDER GRANTING EXTENSION OF TIME TO
NOVASTAR MORTGAGE, INC. WITHIN WHICH 'l`O
FILE A R_ESPONSIVE PLEADING

 

THIS CAUSE came on to be heard upon the Written motion of NovaStar Mortgage, Inc.,
(“NovaStar”) for an extension up to and including September 16, 2005, within which to file a
responsive pleading in this matter.

It appearing to the Court that plaintiff’s counsel consents to the motion and that the
motion should be granted;

IT IS, THEREFORE, ORDERED, ADJUDGE§ AND DECREED that Defendant,

NovaStar Mortgage, Inc. be, and is hereby, granted an extension through September 16, 2005, to

tile a responsive pleading in this matter. /
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U.S. DISTRICT JUDGE

DATE; [;%M;" 2¢, 2005

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w th Rule 58 and/or 79( (a) FHCP on :j¢‘c j$/n /0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02524 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Sapna V. Raj

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/lemphis7 TN 38103

Bruce E. Alexander

WEINER BRODSKY SlDMAN KIDER, P.C.
1300 19th Street, N.W.

5th floor

Washington, DC 20036--160

Webb A. Brewer

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/lemphis7 TN 38103

.1 ohn S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

Kristen C. Wright

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

.1 ennifer Shorb Hagerman
BURCH PORTER & .1 OHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

